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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION



IN RE: EQUIFAX, INC. CUSTOMER                  MDL Docket No. 2800
DATA SECURITY BREACH                           Case No.: 1:17-md-2800-TWT
LITIGATION

                                               ORDER GRANTING MOTION TO
This Document Relates to:                      WITHDRAW ROSANNE L. MAH
ALL ACTIONS                                    AS COUNSEL OF RECORD FOR
                                               PLAINTIFF MALCOLM B. FEIED




       Pursuant to N.D. Ga. L.R. 83.1(E), and the motion filed to withdraw attorney Rosanne L.

Mah as counsel of record for Plaintiff Malcolm B. Feied (“Plaintiff”), and based upon all files and

documents herein, that Motion is hereby GRANTED.

       Plaintiff will continue to be represented by Gordon M. Fauth, Jr. of Litigation Law Group.
                               2nd
       IT IS SO ORDERED this ____________day     February
                                             of ______________, 2021.



                                              /s/ Thomas W. Thrash, Jr.
                                             _________________________________
                                             Honorable Thomas W. Thrash, Jr.
                                             United States District Court Judge




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